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                       IN THE UNITED STATES DISTRICT COURT
                                     F'OR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Shenzhen Jinghe Technology Co., Ltd



Plaintiff(s),
                                                       Case   No.
                                                                18 C 5031
v.                                                     Judge Sara L. Ellis

Does 1-166,

Defendant(s).

                                            ORDER

Motion hearing held. P1aintiffs motion to seal certain documents [11] is granted. Plaintiffs
motion to exceed page limit [1a] is granted. Plaintiffs ex parte motion for entry of TRO,
including a temporary injunction, a temporary asset restraint, expediated discovery, and service
of process via email and/or electronic publication [5] is granted. Plaintiffs oral motion to
extend tro is granted through 91512018. Preliminary injunction hearing set for gl5l20l} at9:45
a.m.




Date: 8/8/2018                                      /s/ Sara L. Ellis
                                                    United States District Court Judge
